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       In the United States Court of Federal Claims
                                       No. 16-840C
                                 (Filed: January 19, 2018)


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                                    *
BITMANAGEMENT SOFTWARE              *
GMBH,                               *
                                    *
                  Plaintiff,        *
                                    *
            v.                      *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
                                    *
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                                         ORDER

      On January 18, 2018, the parties filed a Joint Supplemental Status Report and
Motion to Schedule Discovery and Summary Judgment Briefing.

       The Court ADOPTS the parties schedule for expert discovery as follows:

           •   Plaintiff’s experts disclosures and reports           February 16, 2018
           •   Defendant’s expert disclosures and reports            March 23, 2018
           •   Plaintiff’s rebuttal expert disclosures and reports   April 20, 2018
           •   Close of expert discovery including deposition        May 18, 2018

       The proposed briefing schedule is NOT adopted. The Court is not in favor of
simultaneous briefing. The parties shall file a revised briefing schedule accordingly.

       IT SO ORDERED.
                                                              s/ Edward J. Damich
                                                              EDWARD J. DAMICH
                                                              Senior Judge
